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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

                          Case No.: 1:21-cr-00026-CRC


UNITED STATES OF AMERICA,

v.

CHRISTOPHER MICHAEL ALBERTS
        Defendant.
__________________________/

      UNOPPOSED MOTION FOR CONTINUANCE OF TRIAL WITH
       INCORPORATED REQUEST TO WITHDRAW AS COUNSEL

       COMES NOW, undersigned counsel, on behalf of Defendant, Mr.

Christopher Alberts, in the above-styled criminal cause, submits the following

unopposed motion for a continuance of trial in accordance with the Court’s

June 21, 2022 order; with incorporated request to withdrawal from

representation and in support states:

     1. Presently, a pretrial conference and arraignment have been slated for

July 18, 2022, with trial to begin shortly thereafter.

     2. As the Court is aware, undersigned was involved in an accident on or

about February 19, 2022 requiring hospitalization and ongoing subsequent

treatment and rehabilitation.

     3. Naturally, Undersigned was unable predict the nature and extent of his

injuries and the present, ongoing lingering effects (to be addressed at hearing).
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  4. With Court-ordered deadlines and a trial to be conducted in the near

future, to Undersigned’s dismay, he is currently not physically capable to keep

up with the demands to try the case to the best of his ability within the time

presently set by the Court.

  5. Furthermore, the Government has provided significant “supplemental

discovery” on June 13, 2022, which includes the following:

      A. 29 images related to the seizure and search of Alberts’s cell phone;
      B. The three grand jury transcripts in this matter;
      C. Additional body-worn camera footage of Alberts’s arrest (X6039BKDK);
      D. Business records affidavits – News2Share and Emily Molli videos;
      E. Reuters video;
      F. Fox News at Night video; and,
      G. FLICKR images (2)

  6. In light of Undersigned’s condition coupled with the Governments latest

production of documents and evidence, the defense reverently seeks a

continuance of the trial date; along with an amended briefing schedule so that

Mr. Alberts can be afforded time to go over all the evidence the Government

has against him; and afford his new counsel the opportunity to file any and all

motions they deem appropriate.

  7. Coinciding    with   the   above   and   the   circumstances    referenced,

Undersigned and Ferguson Law P.A. is respectfully requesting permission to

withdraw from representing Mr. Alberts in this matter and be relieved of all

further responsibility in the representation of the Defendant.




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  8. Undersigned has discussed his intention to withdraw with Mr. Alberts

and conveyed the notion of same to the government in writing.

  9. For the forgoing reasons, it is respectfully requested that the trial along

with any and all briefing and scheduling orders be continued or extended; and

permit Mr. Alberts adequate time to obtain new counsel. Powell v. State of

Ala., 287 U.S. 45, 53 (1932) (“It is hardly necessary to say that

the right to counsel being conceded, a defendant should be afforded a fair

opportunity to secure counsel of his own choice”).

  10. Undersigned has conferred with Counsel for the Government, who has

graciously consented to the continuance.


  WHEREFORE, Defendant respectfully requests that the Court continue

the trial and extend any and all briefing or motion schedules germane to same;

that the Court enter an Order granting the withdrawal of Kenneth Ferguson,

Esq. and Ferguson Law PA. (“FLPA”) as counsel of record for the Defendant

relieving undersigned and FLPA of all further responsibility in the

representation of Mr. Alberts, and afford Defendant adequate time to seek

additional representation which Undersigned represents to the Court Mr.

Alberts intends to do; and any further relief the Court deems just and proper

under the circumstances.

      Respectfully Submitted,




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     FERGUSON LAW, P.A.
     Attorney for Defendant
     1 East Broward Blvd. Suite #700
     Fort Lauderdale, Florida 33301
     T – (954) 256 - 5646
     F – (954) 256 - 5655
     Primary: Wayne@FergusonLawPA.com
     Secondary: Service@FergusonLawPA.com

     /s/Kenneth W. Ferguson
     Kenneth W. Ferguson, Esq.


                      CERTIFICATE OF SERVICE

    I hereby certify that on this 23 day of June, 2022, a copy of the foregoing

was efiled, served, and/or delivered to counsel of record or case registered

parties by the CM/ECF court system.


           FERGUSON LAW, P.A.
           Attorney for Defendant
           1 East Broward Blvd. Suite #700
           Fort Lauderdale, Florida 33301
           T – (954) 256 - 5646
           F – (954) 256 - 5655
           Primary: Wayne@FergusonLawPA.com
           Secondary: Service@FergusonLawPA.com

           /s/Kenneth W. Ferguson
           Kenneth W. Ferguson, Esq.




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